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                                                                    The Honorable MARSHA J. PECHMAN
 8
                                  UNITED STATES DISTRICT COURT
 9                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
10
     A.B., by and through her next friend                         NO. 2:14-cv-1178 MJP
11   CASSIE CORDELL TRUEBLOOD, et al.,
                                                                  SUPPLEMENTAL JOINT STATUS
12                                  Plaintiffs,                   REPORT RE: FORTHCOMING
                                                                  EVIDENTIARY HEARING
13          v.
14   WASHINGTON STATE DEPARTMENT
     OF SOCIAL AND HEALTH SERVICES,
15   et al.,
16                                  Defendants.
17          With this hearing rescheduled, the Parties offer updates to their shared vision for the

18   forthcoming evidentiary hearing on Plaintiffs’ motion alleging breach of a settlement agreement

19   in this matter.1 The Parties welcome feedback from the Court to the extent the Court has a

20   different vision for the forthcoming hearing. The Parties also jointly request that the Court set a

21   deadline for submission of the amicus declaration.

22                                                   I.      DATES
23          The Parties are prepared to present additional information at the request of the Court

24   through the presentation of evidence and witnesses in-person at the United States District Court

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                This Status Report is intended to supersede the one filed on March 20, 2023 and at Dkt. No. 974.
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      JOINT STATUS REPORT RE:                                1                ATTORNEY GENERAL OF WASHINGTON
                                                                                     7141 Cleanwater Dr SW
      FORTHCOMING EVIDENTIARY                                                            PO Box 40124
      HEARING                                                                       Olympia, WA 98504-0124
      NO. 2:14-cv-1178 MJP                                                               (360) 586-6565
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 1   for the Western District of Washington, in Seattle, beginning on June 12 and continuing to June
 2   15, 2023.2
 3                                       II.      ROLE OF THE AMICUS
 4            The Parties understand that the amicus counties (Amici) will be allowed ten minutes for
 5   an opening statement on the morning of June 12, 2023, and 30 minutes to argue their brief at the
 6   conclusion of evidence and prior to arguments of the Parties. The Parties understand that the
 7   Amici may propose solutions to the problems raised in the Motion for Material Breach by filing
 8   a declaration, but request that the Court also order that the declaration be filed prior to the first
 9   day of hearing, or before June 12. Filing of this declaration by the beginning of the hearing will
10   facilitate meaningful consideration of the additional facts provided by Amici through this
11   declaration, which will benefit the Court and the Parties.
12                           III.     OPENING AND CLOSING STATEMENTS
13            The Parties propose a brief opening statement after any opening statement provided by
14   the Amici.
15            The Parties believe they should be permitted argument on their motions, or a closing
16   statement, after the close of evidence and after any argument provided by Amici on the final day
17   of the evidentiary hearing.
18                                               IV.      WITNESSES
19            The Parties estimate 3-4 hours for each witness. The Parties have convened to discuss
20   the witnesses to be called and the order in which they should be called, including to account for
21   periods of unavailability.3 The Parties reserve the right to recall witnesses and agree to waive
22   objection as to scope of cross-examination. The Parties agree that the State should take witnesses
23   first, and then the Plaintiffs should be permitted an expansive cross examination of each witness,
24            2
                Should this hearing need to continue past June 15, for any reason, Counsel for the State ask the Court to
25   consider certain periods of unavailability already provided to the Court’s staff by email sent at 1:27 PM on May 16,
     2023.
              3
                This is the same unavailability already provided to the Court’s staff by email sent at 1:27 PM on May 16,
26   2023.
      JOINT STATUS REPORT RE:                                2                 ATTORNEY GENERAL OF WASHINGTON
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      HEARING                                                                        Olympia, WA 98504-0124
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 1   followed by re-direct and re-cross, if necessary. The Parties also agree that witnesses need not
 2   be excluded from the courtroom during testimony from other witnesses during this evidentiary
 3   hearing.
 4          The witnesses the Parties believe to be necessary, in the order proposed by the Parties,
 5   are:
 6          1.      Dr. Danna Mauch, Court-Appointed Monitor
 7          Dr. Mauch is to be called regarding her observations of the State’s efforts towards
 8   compliance, joint efforts by herself and the parties to engage county judges and prosecutors
 9   regarding diversion options, and the like.
10          2.      Dr. Keri Waterland, Division Director, Division of Behavioral Health and
                    Recovery at the Health Care Authority (HCA)
11

12          Dr. Waterland is the primary witness to be called related to the HCA’s efforts to help the
13   State with compliance under Trueblood, and the State’s efforts to transform the State’s
14   behavioral health system including the creation of additional treatment options in the
15   community.
16          3.      Dr. Thomas Kinlen, Director of the Office of Forensic Mental Health
                    Services
17

18          Dr. Kinlen is the primary witness to be examined regarding the Department’s
19   competency restoration treatment admission algorithm, competency evaluation process and
20   outcomes, evaluator staffing, and efforts to communicate to criminal courts when an individual
21   has previously been found not competent to stand trial. Dr. Kinlen can also speak to contempt
22   orders from state courts, but the statistical information requested by the Court will be generated
23   by the Attorney General’s Office and the Parties expect to stipulate to that information.
24   \\
25   \\
26   \\
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 1          4.       Dr. George Petzinger, Medical Director of the Gage Center for Forensic
                     Excellence at Western State Hospital
 2

 3          Dr. Petzinger is the primary witness to be examined regarding admission and treatment

 4   at Western State Hospital, the criteria and process for “triage” decisions regarding admissions to

 5   the hospital, and the flow of patients through the Gage Center for Forensic Services to the

 6   Civil Center.

 7          5.       Kevin Bovenkamp, DSHS Assistant Secretary for the Behavioral Health
                     Administration
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 9          Mr. Bovenkamp is the primary witness to be examined regarding the Department’s larger

10   vision for treatment bed space, progress toward construction and renovation of new bed space,

11   staffing, workforce development, and the like. Mr. Bovenkamp also participates in admission

12   and bed allocation decisions, but from a high-level perspective.

13                                V.         EVIDENTIARY FOLDERS
14          The Parties are preparing their evidence for the Court, in accords with their best

15   understanding of this Court’s chambers procedures. The Parties expect to be able to stipulate to

16   the authenticity of the vast majority of documents contained therein. To the extent any disputes

17   exist as to authenticity, disputed documents will be clearly marked as such.

18                                     VI.    STIPULATED FACTS
19          The Parties are working to update the stipulated evidence previously filed with the Court.

20   The updates are mainly to ensure that the various metrics included in those exhibits, originally

21   prepared in March, are refreshed to include the most up to date information. The Parties believe

22   that by stipulating to undisputed facts, the necessary scope of witness testimony can be reduced

23   during the course of the hearing.

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 1                            VII.   QUARTERLY STATUS REPORT
 2          The Parties filed their joint Quarterly Implementation Status Report on May 15, as was

 3   ordered by this Court. Dkt. No. 990.

 4          RESPECTFULLY SUBMITTED this 30th day of May 2023.

 5    ROBERT W. FERGUSON
      Attorney General
 6

 7
      s/ Marko L. Pavela                              s/ Kimberly Mosolf
 8    Nicholas A. Williamson, WSBA No. 44470          David R. Carlson, WSBA No. 35767
      Marko L. Pavela, WSBA No. 49160                 Kimberly Mosolf, WSBA No. 49548
 9    Anthony W. Vaupel, WSBA No. 47848               Elizabeth Leonard, WSBA No. 46797
      Assistant Attorneys General                     Disability Rights Washington
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19
                                                      Attorneys for Plaintiffs
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 1                                    CERTIFICATE OF SERVICE
 2          I, Christine Townsend, state and declare as follows:

 3          I am a citizen of the United States of America and over the age of 18 years and I am

 4   competent to testify to the matters set forth herein. I hereby certify that on this 30th day of May

 5   2023, I electronically filed the foregoing document with the Clerk of the Court using the

 6   CM/ECF system, which will send notification of such filing to the following:

 7          David Carlson: davidc@dr-wa.org

 8          Kimberly Mosolf: kimberlym@dr-wa.org

 9          Elizabeth Leonard: bethl@dr-wa.org

10          Christopher Carney: Christopher.Carney@CGILaw.com

11          Sean Gillespie: Sean.Gillespie@CGILaw.com

12          David JW Hackett: david.hackett@kingcounty.gov

13          I certify under penalty of perjury under the laws of the state of Washington that the

14   foregoing is true and correct.

15          Dated this 30th day of May 2023, at Olympia, Washington.

16

17
                                           CHRISTINE TOWNSEND
18                                         Legal Assistant
19

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21

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      JOINT STATUS REPORT RE:                        6              ATTORNEY GENERAL OF WASHINGTON
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